Case 2:19-cm-00322-UA Document1 Filed 08/22/19 Pageiofi Page ID#:1

Notice to District Court of Related Criminal Duty Filing

ee
Number of current Criminal Duty Filing: CR Misc. No. 49CN003c C

Title(s) of document(s) making up current criminal duty filing: STIPULATION AND REQUEST TO
EXTEND THE DEADLINE TO FILE CIVIL FORFEITURE COMPLAINT; PROPOSED ORDER

 

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The United States of America hereby informs the Court that the above-referenced! criminal ui filing
(check all that apply and provide appropriate information): | bee

a) O does not relate to any previously filed criminal duty matters;

 

b) M relates to the following criminal duty matter(s) previously filed and assipned| (pr Bo dse
number(s) and assigned judge(s) for all related criminal duty matters): | Oe

CR Misc. No 19-00306, the Hon. John F. Walter

CR Misc. No 19-00311, the Hon. John F. Walter

c) Mrelates to the following indictment(s) previously filed and assigned (provide case number(s) and
assigned judge(s) for all related pending indictments):

CR No. 19-00171-DMG, the Hon. Dolly M. Gee

 

There is a particular reason this criminal duty matter should be assigned to a judge assigned either a
related criminal duty matter or a related indictment listed above. Explain:

 

Respectfully submitted,

DATED: August 22, 2019 /s/ Michael R. Sew Hoy
MICHAEL R. SEW HOY
Assistant United States Attorney

 

 

 

 

 

This notice must be submitted with every criminal duty filing. Multiple documents submitted
concurrently for the same matter are considered one criminal duty filing for purposes of
submitting this notice.

 

 

 

 
